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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA

Smartmatic USA Corp., et. al,
                          Plaintiff(s),

vs.                                                          Case No. 22-cv-00098-WMW-JFD



Michael J. Lindell, et al.,
                              Defendant(s).


                                MEET-AND-CONFER STATEMENT

I, Michael E. Bloom, representing the Plaintiffs, hereby certify that:


I met and conferred with the opposing party by:

        Meeting with: Ryan Malone and Matthew Eslick

        On: December 21, 2022; December 23, 2022; January 4, 2023; January 11, 2023

        Discussing the following motion: Plaintiffs’ Motion to Compel

As a result of the meet-and-confer, the parties:
(Check the box that applies.)

            X Do not agree on the resolution of any part of the motion.

             Agreed on all or part of the motion and request that the Court incorporate the
              following agreement in an order:
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Signed this 1st day of February, 2023.



                      Signature of Party    /s/ Michael E. Bloom

                      Mailing Address      71 South Wacker Drive, Suite 1600

                                           Chicago, IL 60606

                      Telephone Number     (312) 212-4949



Note: All parties filing the motion must date and sign the Meet-and-Confer Statement and
provide their mailing address and telephone number. Attach additional sheets of paper as
necessary. The Meet-and Confer Statement must be served on each party, together with the
documents required under LR 7.1(b)-(c).




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